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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 UNITED STATES OF
 AMERICA
                                                    CRIMINAL No. 17-CR-10281-PBS

        v.

 MINERVA RUIZ,

         Defendant


                              GOVERNMENT'S PROPOSED VOIR DIRE

        The United States of America, by Andrew E. Lelling, United States Attorney, and Lauren

Graber and Benjamin Tolkoff, Assistant United States Attorneys for the District of

Massachusetts, hereby requests that, in addition to those questions commonly put to the venire in

cases commenced in this Court, the Court pose the following questions to the prospective jurors

in this case:

        1.      The United States of America is one of the litigants in this trial. You will hear the

United States referred to throughout the trial as “the government.” Have you, or any member of

your immediate family, or anyone with whom you are close:

        (a) ever been a defendant in a criminal proceeding (other than for an alleged moving

        traffic violation)?

        (b) ever filed a lawsuit or claim of any kind against any police or other law

        enforcement officer?

        (c) ever engaged in litigation with the federal government, that is, ever filed a claim

        or lawsuit against the United States or any of its agencies, or answered some

        claim made against you by the federal government?
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       (d) ever engaged in litigation with any city government or a city government

       police department, that is, ever filed a claim or lawsuit against a city government

       or its police department, or answered some claim made against you by a city

       government or its police department?

       (e) ever had any involvement, of any sort other than a routine traffic matter, with a

       police department; with the Drug Enforcement Administration, also known as the DEA;

       Homeland Security Investigations, also known as HSI; or any other law enforcement

       agency?

       (f) ever been treated unfairly by any police office or other law enforcement personnel?

       2.      Aside from these particular circumstances, are you aware of any prejudice which

you may have against the federal government, any police department, the DEA, HSI, or any

federal law enforcement agency which would in any way impair your ability to evaluate and

judge fairly and impartially the facts of this case?

       3.      Some of the witnesses expected to be called by the United States at trial are police

officers and detectives with various local police departments, and members of various federal

law enforcement agencies such as the DEA or HSI. Are you aware of any prejudice that you

might have against a witness or other individual in this case because that witness or individual is

a law enforcement officer working for a local police department or with a federal law

enforcement agency?

       4.      Some of the witnesses expected to be called by the United States at trial are

individuals who are now cooperating with the law enforcement. Are you aware of any prejudice

that you might have against a witness or individual who is cooperating with law enforcement?

       5.      Have you watched television shows and movies about police work, forensic



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evidence, or the criminal justice system? If you have, do you believe your views developed as a

result of those shows will interfere with your ability to base your verdict solely on the evidence

in this case?

        6.      The Indictment in this case charges the defendant with conspiring to possess with

intent to distribute and to distribute heroin, and possession of heroin with intent to distribute.

Have you, or any member of your immediate family, or anyone with whom you are close:

        (a) ever been, or known anyone who has been, adversely affected by the actions of

        someone in possession of, or using, drugs?

         (b) been a member of any group that advocates legislation or policy relating to drugs?

        (c) ever been addicted to drugs, or been placed in a drug treatment program?

        6.      Do you have any pre-conceived notions about drug laws that would make you

unable to decide this case on the evidence presented and the law as stated by the Court?

        7.      Do you have any general or specific opinions about drugs such as

heroin that would prevent you from serving as a fair and impartial juror in this case?

        8.      Are you unable or unwilling, for any reason, to completely and honestly apply the

law, as I give it to you at the end of the case, to the facts as you find them?

        9.      Do you know of any reason why you cannot sit as a fair and impartial juror in the

trial of this case?




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                            Respectfully submitted,

                            ANDREW E. LELLING
                            United States Attorney

                      By:   /s/ Lauren Graber
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                            BENJAMIN TOLKOFF
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                                CERTIFICATE OF SERVICE


I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants .

                                             /s/ Lauren Graber
                                             Lauren Graber
                                             Assistant United States Attorney




Date: July 1, 2019




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